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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                                  PLAINTIFF

                  v.                  07-CR-50033-002

     JUAN CARLOS SANCHEZ-PEREZ                                                 DEFENDANT

                                         O R D E R

           Now    on     this   3rd   day     of   April,     2007,    comes    on    for

     consideration       defendant's     Financial      Affidavit     In   Support       Of

     Request For Attorney, Expert Or Other Court Services Without

     Payment Of Fee (filed March 28, 2008), as well as a letter from

     defendant asking for copies of all letters, docket sheets, orders

     and pleadings in this case and asking the Court "to respond to my

     Attorney Janet Spencer refusing to file my appeal" (docketed as

     document #70).

           Pursuant to the Court's Criminal Justice Act Plan (the

     "Plan")     instituted     as    required     by   18   U.S.C.    §3006A,       legal

     representation is furnished at public expense to persons charged

     with felony crimes who are "financially eligible." The purpose of

     completing a Financial Affidavit is to obtain such representation,

     and the Financial Affidavit is treated as a motion for relief

     under the Plan.

           The cited statute does not define the term "financially

     eligible," but the corresponding term "financially unable to

     obtain counsel" is defined in the Plan, as follows:

           A person is "financially unable to obtain counsel"
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           within the meaning of this Plan if his or her net
           financial resources and income are insufficient to
           enable him or her to obtain qualified counsel.

           While defendant is now without funds to employ counsel,

     according to his Financial Affidavit, the Court finds that he does

     not fall into the category of those eligible for appointment of

     counsel under the Plan.           That is because he is represented by

     retained counsel, Janet Spencer, who has not been allowed to

     withdraw from the case.

           Defendant is unhappy with Spencer because, he says, she

     refused to file a Notice of Appeal on his behalf.                      However,

     defendant filed a Notice of Appeal on his own behalf, and the

     matter is moving forward. Notwithstanding the filing of the pro se

     Notice of Appeal, Spencer continues to represent defendant.                  Nor

     is this Court empowered to allow her to withdraw, even if she were

     to move for such relief, which she has not.               The Eighth Circuit

     Plan To Expedite Criminal Appeals provides that

           [d]efendant's trial counsel, whether retained or
           appointed, shall represent the defendant on appeal. A
           motion to withdraw will not be granted absent unusual
           circumstances. Counsel seeking to withdraw should file
           a motion to withdraw identified as a court of appeals
           pleading with the district court clerk when the notice
           of appeal is filed.     The district court clerk shall
           forward the motion to the clerk of this court.       The
           motion to withdraw, however, may be filed directly with
           the court of appeals. The clerk of this court may grant
           retained counsel's motion to withdraw only if another
           attorney has entered an appearance for the defendant, or
           if the motion states another attorney has agreed to
           represent the defendant and the defendant has consented
           to the appearance of the new attorney.


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           From the foregoing, it can be seen that defendant does not

     qualify for appointment of counsel under this Court's rules,

     because Spencer continues to represent him, and will do so unless

     and until relieved by the Eighth Circuit Court of Appeals. The

     Court, therefore, declines to act on the Financial Affidavit

     submitted by defendant, and further finds no basis to grant the

     relief requested in document #70.             Instead, it directs that

     attorney Spencer go forward with defendant's appeal, acquainting

     herself if necessary with the procedure outlined in Anders v.

     State of California, 386 U.S. 738 (1967).

           The Court further notes that if defendant finds himself

     aggrieved by the performance of his attorney, he may find his

     remedy in 28 U.S.C. §2255.

           IT IS THEREFORE ORDERED that defendant does not qualify for

     appointment of counsel.

           IT IS FURTHER ORDERED that defendant's retained attorney

     Janet Spencer go forward with his appeal.

           IT IS FURTHER ORDERED that the relief requested by defendant

     in document #70 is denied.

           IT IS SO ORDERED.

                                              /s/ Jimm Larry Hendren
                                            JIMM LARRY HENDREN
                                            UNITED STATES DISTRICT JUDGE




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